980 F.2d 737
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.GOLDOME REALTY CREDIT CORP., Creditor-Appellant,v.Mark Christian SAUGSTAD, f/dba/Construction and Equipment;Kathleen Celeste Saugstad, Debtors-Appellees.
    No. 91-35924.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted Aug. 20, 1992.Submission Deferred Sept. 1, 1992.Resubmitted Dec. 8, 1992.Decided Dec. 10, 1992.
    
      Before HUG, D.W. NELSON and T.G. NELSON, Circuit Judges.
    
    
      1
      MEMORANDUM*
    
    
      2
      On January 14, 1986, the Saugstads purchased their home with the aid of a mortgage loan that was secured by a deed of trust against the residence.   The promissory note and deed of trust were subsequently assigned to Goldome Realty Credit Corporation (Goldome).   The Saugstads filed their Chapter 13 bankruptcy petition on November 27, 1989.   Because of a downturn in the Alaskan economy at the time the petition was filed, the fair market value of the residence had fallen to $81,090, well below the $125,000 outstanding on the mortgage.
    
    
      3
      Over Goldome's objection, the bankruptcy court confirmed the Saugstad's Chapter 13 plan on July 13, 1990.   The court valued the residence at its fair market value of $81,090.   The remainder of the debt was characterized as unsecured debt, modifiable under 11 U.S.C. § 1322(b)(2).   Goldome objected in part because of the bifurcation of the claim into secured and unsecured portions.   Goldome concedes that our decision in  Hougland v. Lomas &amp; Nettleton Co.  (In re Hougland), 886 F.2d 1182 (9th Cir.1989), which permitted modification of unsecured portions of such debt, controls.   It argues, however, that we should reverse our earlier ruling.   Goldome also argues that even if we affirm Hougland, the secured claim was undervalued because the mortgage insurance was not taken into account.   We reject both arguments and now affirm.
    
    
      4
      * We recently reaffirmed our Hougland decision in Lomas Mortgage USA v. Wiese, Nos. 91-36082 and 91-36173, slip op. 14069 (9th Cir.  Dec. 4, 1992).   In Hougland, this court held that section 1322(b)(2) of the Bankruptcy Code permitted a Chapter 13 debtor to modify a residential mortgagee's rights in the unsecured portion of its claim, as defined by section 506(a).   Hougland, 886 F.2d at 1183-84.   As we stated in Wiese, Hougland was correctly decided and we found no reason to upset its holding.   Wiese, slip op. at 14076.   Therefore, Goldome's claims are without merit.
    
    
      5
      Although Goldome spends a great deal of energy discussing the legislative history behind section 1322(b)(2), we need not delve into that here because the statute can be interpreted on its face.   Id. at 14077.   We also reject Goldome's contention that lenders will be subject to unfair treatment and will face "absurd results" if Hougland is to stand.   Id.
    
    II
    
      6
      Goldome argues further that if modification is to be permitted, then its secured claim must be valued according to what it could receive on its mortgage insurance.   It argues that the value of the creditor's secured claim in bankruptcy is what the creditor could sell its interest in the collateral for outside of bankruptcy.   Goldome's claim is based upon mortgage insurance which provides that if default causes foreclosure and a third party does not purchase the property, the property may be conveyed to the insurer by the lender after foreclosure in return for payment of the principal balance and some expenses.   It argues, consequently, that the value of the collateral to Goldome is not the market value of the property but that value plus what Goldome could receive under its mortgage insurance.   We reject this argument.
    
    
      7
      In Wiese we held that mortgage insurance should not be calculated into the value of the secured claim, reasoning that mortgage insurance should not be included in the valuation based in part on the last sentence in section 506(a).   Id. at 14079.   We reach the same conclusion here.   Therefore, the district court did not err in refusing to include the mortgage insurance in valuing the secured claim.
    
    III
    
      8
      Goldome also contends that lien avoidance violates the Takings Clause of the Fifth Amendment.   However, as we stated in Wiese, because Goldome failed to raise this issue both in the bankruptcy court and in the district court, it has waived that issue.   Id. at 14082-83.
    
    
      9
      AFFIRMED.
    
    
      
        *
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    